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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                             WESTERN DIVISION - TOLEDO

AARON CROWL,                                     )
                                                 )
               Plaintiff,                        )     Case No. 3:20-CV-02707
                                                 )
       v.                                        )
                                                 )
CSX TRANSPORTATION, INC.,                        )
a corporation,                                   )
                                                 )
               Defendant.                        )

            NOTICE OF CHANGE OF ADDRESS AND CONTACT INFORMATION

       The undersigned counsel requests entry of an order authorizing DUNN

HARRINGTON LLC to substitute for HARRINGTON, THOMPSON, ACKER &

HARRINGTON, LTD. as counsel of record for Plaintiff effective January 1, 2021. Attorney

Robert E. Harrington, III will continue to represent Plaintiff in this matter through DUNN

HARRINGTON LLC. Plaintiff requests the Court’s docket reflect this change and DUNN

HARRINGTON LLC will be counsel of record for Plaintiff and HARRINGTON,

THOMPSON, ACKER & HARRINGTON, LTD. will be relieved from further responsibility

in this case and removed from any service lists. By signing below, counsel certify that

Plaintiff has consented in writing to this change.


Dated: December 18, 2020
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                               Respectfully submitted,


                         By:   /s/ Robert E. Harrington, III
                               Robert E. Harrington III
                               DUNN HARRINGTON LLC
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                               Counsel for Plaintiff Aaron Crowl
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                               CERTIFICATE OF SERVICE


I hereby certify that on December 18, 2020 a copy of the foregoing:

        NOTICE OF CHANGE OF ADDRESS AND CONTACT INFORMATION

was filed electronically. Notice of this filing will be sent to all parties by operation of the
Court’s electronic filing system. Parties may access this filing through the Court’s system.

                     Respectfully submitted,


                     /s/ Robert E. Harrington, III
                     Robert E. Harrington, III
